                         Case 18-10248-MFW               Doc 839       Filed 06/14/18        Page 1 of 2




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         In re:                                                       Chapter 11

         THE BON-TON STORES, INC., et al.,1                           Case No. 18-10248 (MFW)

                                            Debtors.                  (Jointly Administered)

                                                                      Ref. Docket No. 781

                 ORDER, PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE,
                EXTENDING THE EXCLUSIVE PERIODS FOR THE FILING OF A CHAPTER
                     11 PLAN AND SOLICITATION OF ACCEPTANCES THEREOF

                          Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors

         and debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to

         section 1121(d) of the Bankruptcy Code, extending the Exclusive Periods within which only the

         Debtors may file a chapter 11 plan and solicit acceptances thereof, all as more fully described in

         the Motion; and it appearing that this Court has jurisdiction to consider the Motion pursuant to

         28 U.S.C. §§ 1334 and 157, and the Amended Standing Order of Reference from the United

         States District Court for the District of Delaware dated February 29, 2012; and it appearing that

         this is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that this Court may enter a final order

         consistent with Article III of the United States Constitution; and it appearing that venue of these

         chapter 11 cases and of the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it

         appearing that due and adequate notice of the Motion has been given under the circumstances,

         and that no other or further notice need be given; and this Court having determined that the relief


         1
                   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: The Bon-Ton Stores, Inc. (5229); The Bon-Ton Department Stores, Inc. (9309); The
         Bon-Ton Giftco, LLC (2805); Carson Pirie Scott II, Inc. (2140); Bon-Ton Distribution, LLC (5855); McRIL, LLC
         (5548); Bonstores Holdings One, LLC (8574); Bonstores Realty One, LLC (8931); Bonstores Holdings Two, LLC
         (8775); and Bonstores Realty Two, LLC (9075). The headquarters for the above-captioned Debtors is 2801 East
         Market Street, Bldg. E, York, Pennsylvania 17402.
         2
                  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
01:23163992.4
                        Case 18-10248-MFW          Doc 839      Filed 06/14/18      Page 2 of 2




         requested in the Motion is in the best interests of the Debtors, their estates, their creditors, and

         other parties in interest; and after due deliberation and sufficient cause appearing therefor; it is

         hereby

                  ORDERED THAT:

                         1.      The Motion is GRANTED as set forth herein.

                         2.      The Exclusive Filing Period for each Debtor is hereby extended through

         and including October 2, 2018, for cause, pursuant to section 1121(d) of the Bankruptcy Code.

                         3.      The Exclusive Solicitation Period for each Debtor is hereby extended

         through and including December 3, 2018, for cause, pursuant to section 1121(d) of the

         Bankruptcy Code.

                         4.      This Order shall be without prejudice to the rights of the Debtors and their

         estates to seek further extensions of the Exclusive Periods pursuant to section 1121(d) of the

         Bankruptcy Code.

                         5.      This Court shall retain exclusive jurisdiction with respect to all matters

         arising from or related to the implementation or interpretation of this Order.




01:23163992.4     Dated: June 14th, 2018
                  Wilmington, Delaware                            MARY F. WALRATH
                                                            2     UNITED STATES BANKRUPTCY JUDGE
